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                              UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF MISSISSIPPI

In re: MACK EDWARD PARRISH, JR                                          Chapter 13
                                                                        Case No:23-50229 KMS


                                OBJECTION TO CONFIRMATION OF
                                        INITIAL PLAN


   Comes now David Rawlings, Standing Chapter 13 Trustee who would show the Court the following

for which relief is sought. It is reasonably believed and the proof will show that the Chapter 13 petition

and plan fail to comply with the following:

   1. 11 U.S.C. §1325(a)(1). The plan does not comply with the provisions of Chapter 13 and with the

   other applicable provisions of the Bankruptcy Code in that the plan does not address the

   arrearage asserted in the proof of claim filed by 21st Mortgage Corporation.

   Because the plan and petition fail to comply with applicable provisions of the Bankruptcy Code, the

case should be dismissed pursuant to 11 U.S.C. §1307 or the confirmation should be denied and the

debtor given an opportunity to submit a modified plan within reasonable time.

   PREMISES CONSIDERED, David Rawlings , Standing Chapter 13 Trustee prays:

   1. That the Court either dismiss the Chapter 13 case pursuant to 11 U.S.C. §1307, sustain the

       objection, or deny confirmation and grant the debtor a reasonable time in which to submit a

       modified plan.

   2. The Trustee hereby objects to any amended plan filed hereafter.
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                                         INITIAL PLAN

   3. That the Chapter 13 Trustee be granted such other and further relief to which he may be entitled.

Dated: 4/10/2023                                               /s/ David Rawlings
                                                               David Rawlings
                                                               Chapter 13 Trustee
                                                               P.O. Box 566
                                                               Hattiesburg, MS 39403
                                                               (601) 582-5011

                                                               drawlings@rawlings13.net

                                     CERTIFICATE OF SERVICE

        I, the undersigned, do hereby certify that I have on this day forwarded, a true and correct copy of
the foregoing Objection, via the Court's ECF filing system, to: The U.S. Trustee, 501 East Court Street,
Suite 6-430, Jackson, Mississippi 39201; and Thomas C. Rollins, Jr, P O Box 13767, Jackson, MS
39236.

       So certified on this 10th of April, 2023.
                                                               /s/ David Rawlings
                                                               David Rawlings
